Case 4:16-cv-13727-TGB-EAS ECF No. 39 filed 09/29/17   PageID.615   Page 1 of 14




                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION

ANDRÉ DESHAWN
COOLEY,

            Plaintiff,
      v.                                 Case No. 16-13727

WESTERN MICHIGAN                         Hon. Terrence G. Berg
UNIVERSITY COOLEY                        Hon. Elizabeth A. Stafford
LAW SCHOOL, et al.,

            Defendants.
                                 /


ORDER ADOPTING REPORT AND RECOMMENDATION (DKT.
 35) GRANTING DEFENDANTS’ MOTIONS TO DISMISS (DKTS.
  15, 19, 20), DENYING PLAINTIFF’S MOTION FOR LEAVE TO
AMEND (DKT. 23) AND DISMISSING CASE WITH PREJUEDICE

      Plaintiff André Deshawn Cooley is currently enrolled as a law stu-

dent at Western Michigan University (WMU) Cooley Law School. Un-

happy with the grade he received in Contracts II in 2015, he met with his

Professor and surreptitiously recorded their conference concerning his

performance on the exam. When the Professor did not agree to alter his

grade, Plaintiff appealed his grade to school officials, filed a complaint

with the Michigan Department of Civil Rights, and filed a lawsuit in the

Kent County Circuit Court. None of these processes gained Plaintiff the
Case 4:16-cv-13727-TGB-EAS ECF No. 39 filed 09/29/17               PageID.616   Page 2 of 14




relief that he sought. Plaintiff now brings this pro se lawsuit against all

of the entities that denied him relief: WMU-Cooley and its employees1,

the State of Michigan and its employees2, and Kent County and its em-

ployees3 (Dkt. 4; Amend. Compl.). Plaintiff’s Amended Complaint, over

50 pages long, states that he suffers from attention deficit hyperactivity

disorder (ADHD), and is thus a protected person under the Americans

with Disability Act (ADA) and Michigan’s Persons with Disability Civil

Rights Act (PWDCRA) (Id. Pg ID 72, 95). Plaintiff alleges that Defend-

ants discriminated against him due to his disability. Plaintiff’s Amended

Complaint also references 42 U.S.C. § 1983, but only in a perfunctory

manner. The majority of Plaintiff’s Amended Complaint consists of a rec-

itation of background facts, specifically a discussion of portions of his

Contracts II exam for which he believes deserved more points (Dkt. 4, Pg

                                                            
1 The Law School Defendants include WMU-Cooley, Don LeDuc (President and
Dean), Nelson Miller (Associate Dean of Grand Rapids campus), Christopher Has-
tings (Contracts II Professor), and Paul Zelenski (Associate Dean of Enrollment and
Student Services) (collectively, the “Law School Defendants”).

2  The State of Michigan Defendants include, “Ricky” Snyder (presumably Governor
Rick Snyder), and Agustin Arbulu (Executive Director of the Michigan Department
of Civil Rights) (collectively, the “State Defendants”).

3The Kent County Defendants include the County Board of Commissioners, Daryl
Delabbio (former Kent County Administrator), and the Honorable Donald Johnston,
Chief Judge, Kent County Circuit Court. (collectively, the “Kent County Defend-
ants”).
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Case 4:16-cv-13727-TGB-EAS ECF No. 39 filed 09/29/17   PageID.617   Page 3 of 14




IDs 7-28). Also included in the Amended Complaint is a section that ap-

pears to be a transcript of Plaintiff’s conversation with his Contracts Pro-

fessor (Dkt. 4, Pg IDs 28-41). The portion of the Amended Complaint

containing Plaintiff’s legal “claims” spans the remaining seven pages

(Dkt. 4, Pg IDs 42-49). Plaintiff’s proposed Second Amended Complaint

(Dkt. 24) mentions “due process” and “equal protection” more explicitly,

but again, these purported constitutional claims each circle back to a dis-

cussion of various disability statutes.

      Each group of Defendants has moved to dismiss the Amended Com-

plaint (Dkts. 15, 19, 20). Defendants’ grounds for dismissal can be sum-

marized as follows:

          The Law School Defendants – (1) since WMU-Cooley is not a
           public entity (and remains a private institution) Title II of the
           ADA and § 1983 are inapplicable; (2) Plaintiff has not suffi-
           ciently alleged a failure to accommodate claim, rather, Plain-
           tiff’s Complaint acknowledges that he received accommoda-
           tions for his disability; (3) Plaintiff failed to allege any dis-
           parate impact; (4) the ADA does not provide for liability
           against any of the individual Law School Defendants; (5) that
           evaluation of a student’s performance on a law school exami-
           nation is not within the province of the Court; and (6) that
           Plaintiff failed to properly serve Defendants LeDuc and Zelen-
           ski with the summons and complaint (Dkt. 19).

          The State Defendants – Plaintiff’s claims against the State of
           Michigan, and any of its departments, are barred by Eleventh
           Amendment Immunity (Dkt. 15).

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Case 4:16-cv-13727-TGB-EAS ECF No. 39 filed 09/29/17   PageID.618   Page 4 of 14




          The Kent County Defendants – (1) Plaintiff’s claims against
           Chief Judge Johnston are barred by judicial immunity; and
           (2) Plaintiff’s Complaint fails to allege any wrongdoing, or per-
           sonal involvement, on behalf of the remaining Kent County
           Defendants (Dkt. 20).

Plaintiff filed responses to each of Defendants’ motions (Dkts. 22, 28, 29).

Plaintiff also filed a motion for leave to amend (Dkt. 23), and a proposed

second amended complaint (Dkt. 24), in response to Defendants’ motions

to dismiss.

      The motions were referred to Magistrate Judge Elizabeth A. Staf-

ford, who on August 2, 2017 issued a report and recommendation (Dkt.

35) recommending that all three of Defendants’ motions be granted, and

that Plaintiff’s motion for leave to amend be denied. In summary, the

report and recommendation urges: (1) that the Court to dismiss Plain-

tiff’s case against the Law School Defendants, because exam-grading falls

within the discretion of academic professionals and is not properly the

subject of an ADA or § 1983 claim; (2) that the State Defendants are en-

titled to Eleventh Amendment immunity; (3) that Judge Johnston is en-

titled to judicial immunity; and (4) that Plaintiff has not stated a valid

claim against the remaining Kent County Defendants, as he fails to al-

lege sufficient involvement of these officials.

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Case 4:16-cv-13727-TGB-EAS ECF No. 39 filed 09/29/17   PageID.619   Page 5 of 14




      The Court has reviewed Magistrate Judge Stafford’s report and rec-

ommendation. The law provides that either party may serve and file writ-

ten objections “[w]ithin fourteen days after being served with a copy” of

the report and recommendations. 28 U.S.C. § 636(b)(1). Plaintiff filed

timely objections (Dkt. 35); the Law School Defendants filed a timely re-

sponse (Dkt. 37) to Plaintiff’s objections. The State and Kent County De-

fendants did not file responses to Plaintiff’s objections. The district court

will make a “de novo determination of those portions of the report . . . to

which objection is made.” 28 U.S.C. § 636(b)(1)

      Plaintiff’s objections are a 45-page amalgamation of legal citations

that generally rehash the claims in the Amended Complaint and reassert

the arguments in his responses to the motions to dismiss, without focus-

ing specifically on any defects in the reasoning or the authorities relied

on by the Magistrate Judge. “The filing of vague, general, or conclusory

objections does not meet the requirement of specific objections and is tan-

tamount to a complete failure to object.” Cole v. Yukins, Fed. App’x. 354,

356 (6th Cir. 2001) (citing Miller v. Currie, 50 F.3d 373, 380 (6th Cir.

1995)). Although Plaintiff fails to articulate any coherent basis for this

Court to reject the report and recommendation, the Court has endeavored


                                      5
 
Case 4:16-cv-13727-TGB-EAS ECF No. 39 filed 09/29/17   PageID.620   Page 6 of 14




to liberally construe and try to understand Plaintiff’s objections. Plain-

tiff’s first objection is to:

    [T]he Court’s assertion and fact-to law application that “to state a
    claim for equal protection a plaintiff must adequately plead that the
    government treated the plaintiff desperately [sic] as compared to
    similarly situated persons and that such disparate treatment either
    burdens a fundamental right, targets a suspected class, or has no
    rational basis.”

Plaintiff’s second objection is to:

    [T]he Court’s assertion and fact-to law application where this Court
    has noted that courts are not in the business of second-guessing a
    professors [sic] professional judgment; however, the professor even
    second guesses his own professional judgment, because during the
    conversation that was recorded by the Plaintiff unbeknownst to the
    professor, the professor even acknowledges himself that the Plain-
    tiff did make the necessary points of law to be awarded points, but
    was not.

Plaintiff’s third objection is to:

    [T]he Court’s assertion and fact-to law application where this court
    further asserts that the Supreme Court’s ruling that the courts may
    not override an academic decision absent a showing that those re-
    sponsible did not actually exercise professional judgment is signifi-
    cant because this professor made a different judgment when he was
    in the meeting with this plaintiff and was unaware he was being
    recorded. This defendant acknowledged errors in the examination
    and dismissing this plaintiffs [sic] lawsuit not only invades the
    province of the jury but I second guesses the professors second-
    guess. The facts and issues are something that should be decided
    by the jury. This professor provided several false statements two
    [sic] investigators, but why would the professor have a need to lie
    when the truth would have sufficed.


                                      6
 
Case 4:16-cv-13727-TGB-EAS ECF No. 39 filed 09/29/17   PageID.621   Page 7 of 14




    The Amended Complaint raises claims under 42 U.S.C. § 1983, Title

II of the Americans with Disabilities Act (ADA), and Michigan’s Persons

with Disabilities Civil Rights Act.   “[T]he ADA is designed ‘to provide a

clear and comprehensive national mandate for the elimination of discrim-

ination against individuals with disabilities.’” Tennessee v. Lane, 541

U.S. 509, 516, 124 S.Ct. 1978, 158 L.Ed.2d 820 (2004) (quoting 42 U.S.C.

§§ 12101(b)(1), (b)(4)). “It forbids discrimination against persons with dis-

abilities in three major areas of public life: employment, which is covered

by Title I of the statute; public services, programs, and activities, which

are the subject of Title II; and public accommodations, which are covered

by Title III.” Id. at 516–17, 124 S.Ct. 1978. Title V, in turn, prohibits

retaliation, interference, coercion, or intimidation with respect to individ-

uals invoking the protection of Titles I through III. See 42 U.S.C. § 12203.

Plaintiff’s claims in this case are brought under Title II of the ADA.

Plaintiff’s Complaint also relies upon Michigan’s Persons with Disabili-

ties Civil Rights Act, but that act essentially tracks the ADA, so the anal-

ysis merges, at least under the circumstances of this case. See Curry v.

Cyprian Ctr., 17 Fed. App’x 339, 341 (6th Cir. 2001).




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Case 4:16-cv-13727-TGB-EAS ECF No. 39 filed 09/29/17   PageID.622   Page 8 of 14




       The Court will consider Plaintiff’s claims as they relate to each of

the three groups of Defendants.

       A. The State Defendants

       As noted, the report and recommendation urges dismissal of Plain-

tiff’s claims against the State Defendants, based on Eleventh Amend-

ment immunity. The Eleventh Amendment guarantees that nonconsent-

ing States may not be sued by private individuals in federal court. See

Bd. of Trustees of Univ. of Alabama v. Garrett, 531 U.S. 356, 363 (2001)

(citing Kimel v. Florida Bd. of Regents, 528 U.S. 62, 72–73 (2000)). Con-

gress, however, “may abrogate the States’ Eleventh Amendment immun-

ity when it both unequivocally intends to do so and ‘act[s] pursuant to a

valid grant of constitutional authority.’” Id. (quoting Kimel, 528 U.S., at

73).

       Congress has unequivocally expressed its intent to abrogate state

sovereign immunity for violations of the ADA. See United States v. Geor-

gia, 546 U.S. 151, 154 (2006) (citing 42 U.S.C. § 12202 (“A State shall not

be immune under the Eleventh Amendment to the Constitution of the

United States from an action in [a] Federal or State court of competent

jurisdiction for a violation of this chapter”)). “But the Supreme Court has


                                      8
 
Case 4:16-cv-13727-TGB-EAS ECF No. 39 filed 09/29/17   PageID.623   Page 9 of 14




held that Congress’s attempted abrogation is only valid in limited cir-

cumstances, depending upon the nature of the ADA claim.” Babcock v.

Michigan, 812 F.3d 531, 534 (6th Cir. 2016) (citing cases). “To guide the

lower courts in assessing whether the Eleventh Amendment proscribes

an ADA Title II claim, the Supreme Court has set forth a three-part test:

    [D]etermine ... on a claim-by-claim basis, (1) which aspects of the
    State’s alleged conduct violated Title II; (2) to what extent such mis-
    conduct also violated the Fourteenth Amendment; and (3) insofar
    as such misconduct violated Title II but did not violate the Four-
    teenth Amendment, whether Congress’s purported abrogation of
    sovereign immunity as to that class of conduct is nevertheless valid.

Id. at 534-35 (quoting Georgia, 546 U.S. at 159; citing Mingus v. Butler,

591 F.3d 474, 482 (6th Cir. 2010)).

      In this case, the bulk of Plaintiff’s allegations in his Amended Com-

plaint (Dkt. 4) and in his proposed Second Amended Complaint (Dkt. 24)

focuses on the actions of the Law School Defendants. Under the Supreme

Court’s test, the Court must first identify how the Complaint alleges that

the State’s conduct violated Title II of the ADA. Plaintiff’s claims against

the State Defendants appear limited to the State’s adjudication – and

ultimate dismissal – of a complaint that he filed with the Michigan De-

partment of Civil Rights (MDCR), concerning the same alleged underly-

ing discrimination by the Law School Defendants. Specifically, Plaintiff

                                      9
 
Case 4:16-cv-13727-TGB-EAS ECF No. 39 filed 09/29/17   PageID.624   Page 10 of 14




 alleges that the MDCR failed to conduct an impartial investigation, dis-

 missed his complaint, and denied his request for reconsideration (Dkt. 4,

 Pg ID 109). These allegations do not allege that Plaintiff was excluded

 or denied benefits by any public service, program, or activity on the basis

 of a disability. Nor do these allegations specify any disparate treatment

 or discrimination against Plaintiff based on his disability. Plaintiff’s al-

 legations are thus insufficient to state either a valid ADA claim sufficient

 to overcome Eleventh Amendment immunity or any colorable claim of a

 violation of Due Process and Equal Protection rights under the 14th

 Amendment against the State Defendants. Thus, the Court will accept

 the Magistrate Judge’s recommendation that the State Defendants’ mo-

 tion to dismiss (Dkt. 15) should be granted.

        B. The Law School Defendants

        As to the Law School Defendants, the report and recommendation

 concludes that the Court should grant their motion to dismiss, as Plain-

 tiff fails to allege a plausible discrimination claim against them. This

 recommendation is sound, and Plaintiff’s objections thereto are unavail-

 ing.




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Case 4:16-cv-13727-TGB-EAS ECF No. 39 filed 09/29/17   PageID.625   Page 11 of 14




       As noted by the Magistrate Judge, discrimination laws do not re-

 quire “an educational institution to lower or to effect substantial modifi-

 cations of standards to accommodate a handicapped person.” Southeast-

 ern Community College v. Davis, 442 U.S. 397, 413, 99 S.Ct. 2361, 60

 L.Ed.2d 980 (1979). Further, when reviewing the substance of academic

 decisions, courts “should show great respect for the faculty’s professional

 judgment.” Regents of Univ. of Michigan v. Ewing, 474 U.S. 214, 225, 106

 S.Ct. 507, 88 L.Ed.2d 523 (1985). “‘University faculties must have the

 widest range of discretion in making judgments as to the academic per-

 formance of students and their entitlement to promotion or graduation.’”

 Id. at 225 n. 11, 106 S.Ct. 507 (quoting Board of Curators, Univ. of Mo. v.

 Horowitz, 435 U.S. 78, 96 n. 6, 98 S.Ct. 948, 55 L.Ed.2d 124 (1978) (Pow-

 ell, J., concurring)). Courts must also give deference to professional aca-

 demic judgments when evaluating the reasonable accommodation re-

 quirement. See McGregor v. Louisiana State Univ. Bd. of Supervisors, 3

 F.3d 850, 859 (5th Cir. 1993); Wynne v. Tufts Univ. Sch. of Med., 976 F.2d

 791, 795 (1st Cir. 1992); Kaltenberger v. Ohio Coll. of Podiatric Med., 162

 F.3d 432, 436 (6th Cir. 1998).




                                      11
  
Case 4:16-cv-13727-TGB-EAS ECF No. 39 filed 09/29/17   PageID.626   Page 12 of 14




       In this case, Plaintiff does not allege that he was dismissed from

 WMU-Cooley or that he was not provided reasonable accommodations in

 taking his Contracts II examination. Indeed, Plaintiff alleges that he re-

 mained enrolled as a student at WMU-Cooley, that he received testing

 accommodations for his ADHD, and that he submitted his Contracts II

 exam in the manner allowed for accommodated students (Dkt. 4, Pg IDs

 72-73). Nowhere does Plaintiff allege that he requested or needed any

 other accommodation from the Law School. The core of Plaintiff’s case is

 that, in his judgment, his Contracts Professor gave him a grade that was

 lower than what he believed he deserved. The Amended Complaint in-

 cludes what purports to be a transcript of the surreptitiously-recorded

 conference between Plaintiff and Professor Hastings. Nothing in that

 transcript supports a conclusion that the grading process was discrimi-

 natory or failed to accommodate Plaintiff’s disability. While Plaintiff

 claims that Professor Hastings failed to apply the “holistic grading ap-

 proach” that he said he used, in the quoted dialogue between Plaintiff

 and the Professor he appeared to apply just such an approach, awarding

 Plaintiff points where he discussed relevant law and facts, but denying




                                      12
  
Case 4:16-cv-13727-TGB-EAS ECF No. 39 filed 09/29/17   PageID.627   Page 13 of 14




 them where his organization, argument, or legal vocabulary was inade-

 quate (Dkt. 4, Pg ID 42-54). The Amended Complaint draws no connec-

 tion between Plaintiff’s disability, any alleged failure to accommodate,

 and the awarding of Plaintiff’s grade. This does not state a valid ADA

 claim, and also does not allege any kind of discrimination or denial of due

 process that could make out a 14th Amendment violation. The Court

 therefore accepts the Magistrate Judge’s recommendation that the Law

 School Defendants’ motion to dismiss (Dkt. 15) should be granted.

       C. The Kent County Defendants

       Finally, as to the Kent County Defendants, the report and recom-

 mendation correctly recognized that Chief Judge Johnston is entitled to

 judicial immunity. It further recognized that Plaintiff failed to allege

 sufficient facts to state a valid discrimination claim against the remain-

 ing Kent County Defendants. Plaintiff’s objections do not persuade the

 Court to alter these recommendations. The Court therefore accepts the

 Magistrate Judge’s recommendation that the Kent County Defendants’

 motion to dismiss (Dkt. 20) should be granted.




                                      13
  
Case 4:16-cv-13727-TGB-EAS ECF No. 39 filed 09/29/17   PageID.628   Page 14 of 14




                                 CONCLUSION

       For the reasons set forth above, the report and recommendation

 (Dkt. 35) is hereby ACCEPTED and ADOPTED, and Plaintiff’s objec-

 tions (Dkt. 36) thereto are OVERRULED. Defendants’ motions to dis-

 miss (Dkts. 15, 19, 20) are GRANTED and this case is hereby DIS-

 MISSED WITH PREJUDICE.

       SO ORDERED.



                                    s/Terrence G. Berg
                                    TERRENCE G. BERG
                                    UNITED STATES DISTRICT JUDGE

 Dated: September 29, 2017




                          Certificate of Service
       I hereby certify that this Order was electronically submitted on
 September 29, 2017, using the CM/ECF system, which will send notifica-
 tion to each party.


                                           s/A. Chubb
                                           Case Manager




                                      14
  
